                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NEW YORK
____________________________________

UNITED STATES OF AMERICA                     :                      Criminal Action
                                             :                      No. 18-MJ-1101
                 v.                          :
                                             :                      Hon. James Orenstein
LUCIO CELLI                                  :                      U.S.M.J.
                  Defendant                  :
____________________________________

                                            ORDER

       AND NOW, this _____ day of February, 2019, upon consideration of Lucio Celli’s
Application for Production of Lucio Celli’s Records from                  it is hereby
ORDERED:

       The Application is GRANTED. Within seven (7) days upon service of this Order upon the

shall provide a copy of any and all                   in its possession or control related to Lucio
Celli                 , upon Mr. Celli’s attorney at the following address.

                      Leticia Olivera c/o Patricia Paulino
                      Federal Defenders of New York, Inc.
                      One Pierrepont Plaza, 16th Floor
                      Brooklyn, NY 11201
                      Office: (718) 407-7403
                      Fax: (718) 855-0760
                      Email: patricia_paulino@fd.org

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                                                     Hon. James Orentstein, USMJ
